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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 16-62060-CIV-COOKE/TORRES

  KENDRA JONES,

         Plaintiff,

  vs.

  NPAS, INC.,

        Defendant.
  _________________________________/

         JOINT STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

         Plaintiff KENDRA JONES (“Plaintiff”) and Defendant NPAS, INC. (“Defendant”), by and

  through respective undersigned counsel, pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of

  Civil Procedure, hereby file this Joint Stipulation of Voluntary Dismissal with Prejudice of the

  above styled action. Plaintiff and Defendant shall each bear their own attorneys’ fees and costs.

  All parties have reviewed this stipulation.




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  Dated: December 04, 2016

  Respectfully submitted,


   /s/ Jibrael S. Hindi              .                   /s/ Paul De Boe                     .
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         AND
                                                               AND
   /s/ Thomas J. Patti                    .
  THOMAS J. PATTI, ESQ.                                  /s/ Megan D. Meadows                 .
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  COUNSEL FOR PLAINTIFF                                 Fax: 314-862-4656

                                                        COUNSEL FOR DEFENDANT



                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 4th day of December 2016, I caused the foregoing to be

  electronically filed with the Clerk of the Court using the CM/ECF system, which will send a notice

  of electronic filing to counsel of record.

                                                        /s/ Jibrael S. Hindi________
                                                        JIBRAEL S. HINDI, ESQ.
                                                        Florida Bar No.118259




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